                         UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF WISCONSIN


KIMBERLEE VEN HOUSEN

                      Plaintiff,                      Case No.: 20-CV-1097

       v.

RV WORLD, INC OF NOKOMIS d/b/a
GERZENY’S RV WORLD,
WINNEBAGO INDUSTRIES, INC. and
MERCEDES-BENZ USA, LLC,

                      Defendants.


STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY
                                                      Case No.: 20-CV-1099
                      Plaintiff,

       v.

WINNEBAGO INDUSTRIES, INC. and
MERCEDES-BENZ USA, LLC,

                      Defendants.



            DECLARATION OF NATHANIEL CADE, JR. IN SUPPORT OF
      DEFENDANT WINNEBAGO INDUSTRIES, INC.’S MOTION TO CONSOLIDATE


           Pursuant to 28 U.S.C.§ 1746, the undersigned, Nathaniel Cade, Jr., makes the

 following statements under penalty of perjury under the laws of the United States.

      1.       This Declaration is made in Support of Defendant Winnebago Industries,

Inc.’s Motion to Consolidate E.D. Wisconsin Case #20-CV-1097 and E.D. Wisconsin Case

#20-CV-1099.

      2.       Plaintiffs Kimberlee Ven Housen (“Ven Housen”) filed a lawsuit on June 12,


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2020 in the Walworth County Circuit Court styled “Ven Housen v. RV World, Inc of

Nokomis d/b/a Gerzeney’s RV World et al.”, Case # 2020-CV-0307 (the “Ven Housen

Lawsuit”). The Ven Housen Lawsuit was removed to this Court on July 18, 2020.

      3.     Plaintiff State Farm Mutual Automobile Insurance Company (“State Farm”)

filed a lawsuit on June 16, 2020 in the Walworth County Circuit Court, State Farm Mutual

Automobile Insurance Company et al v. Winnebago Industries, Inc. et al., Walworth

County Case # 2020-CV-03127 (the “State Farm Lawsuit”). The State Farm Lawsuit was

removed to this Court on July 19, 2020.

      4.     In both lawsuits, Ven Housen and State Farm seek damages against

Winnebago Industries, Inc and Mercedes-Benz USA, LLC, as well as damages against

Defendant RV World, Inc. in the Ven Housen Lawsuit, with regards to fire damage to an

allegedly defective Winnebago van, as well as damages to Ms. Ven Housen’s home.

      5.     I am aware that defendants Mercedes-Benz USA, LLC and RV World, Inc.

both consent to consolidation of these two cases.

Executed this 23rd day of July, 2020.

                                          /s/Nathaniel Cade, Jr.______
                                          Nathaniel Cade, Jr.




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